                                          Case 5:16-cr-00211-LHK Document 337 Filed 01/17/18 Page 1 of 2




                                   1

                                   2

                                   3

                                   4

                                   5

                                   6

                                   7

                                   8                                 UNITED STATES DISTRICT COURT
                                   9
                                                                    NORTHERN DISTRICT OF CALIFORNIA
                                  10
                                                                             SAN JOSE DIVISION
                                  11

                                  12    UNITED STATES OF AMERICA,                           Case No. 16-CR-00211-LHK
Northern District of California
 United States District Court




                                  13                   Plaintiff,                           ORDER DENYING DEFENDANT
                                                                                            BELCHER’S THIRD MOTION TO
                                  14            v.                                          EXTEND TIME AND GRANTING IN
                                                                                            PART AND DENYING IN PART
                                  15    VILASINI GANESH and GREGORY                         DEFENDANT GANESH’S MOTION TO
                                        BELCHER,                                            CONTINUE DATES
                                  16
                                                       Defendants.                          Re: Dkt. Nos. 332, 335
                                  17

                                  18          The jury rendered its verdict in this case on December 14, 2017. ECF No. 300. Pursuant
                                  19   to Federal Rule of Criminal Procedure 29(c)(1), a defendant may move for a judgment of acquittal
                                  20   within 14 days after a guilty verdict, which in this case would be December 28, 2017. Pursuant to
                                  21   Federal Rule of Criminal Procedure 33(b)(2), any motion for a new trial grounded on any reason
                                  22   other than newly discovered evidence must be filed within 14 days after the verdict, which in this
                                  23   case would be December 28, 2017.
                                  24          Defendant Gregory Belcher’s third Motion to Extend Time to File Defendant Belcher’s
                                  25   Rule 29 Motion for Judgment of Acquittal and/or Rule 33 Motion for New Trial, ECF No. 335, is
                                  26   DENIED. Defendant Belcher’s January 19, 2018 filing deadline remains as set. Plaintiff’s
                                  27
                                                                                        1
                                  28   Case No. 16-CR-00211-LHK
                                       ORDER DENYING DEFENDANT BELCHER’S THIRD MOTION TO EXTEND TIME AND GRANTING IN
                                       PART AND DENYING IN PART DEFENDANT GANESH’S MOTION TO CONTINUE DATES
                                          Case 5:16-cr-00211-LHK Document 337 Filed 01/17/18 Page 2 of 2




                                   1   February 2, 2018 response deadline remains as set. Defendant Belcher’s sentencing remains on

                                   2   April 4, 2018 at 9:15 a.m.

                                   3          Ted Cassman appeared as counsel of record for Defendant Vilasini Ganesh on January 9,

                                   4   2018. ECF No. 321. Defendant Ganesh’s Motion to Continue Dates for New Trial Motion and

                                   5   Sentencing, ECF No. 332, is GRANTED in part and DENIED in part. Defendant Ganesh’s Rule

                                   6   29 Motion for Judgment of Acquittal and/or Rule 33 Motion for New Trial shall be filed on

                                   7   February 28, 2018. Plaintiff’s response shall be filed on March 26, 2018. The hearing, if any,

                                   8   shall be on April 10, 2018 at 2 p.m. Defendant Ganesh’s sentencing is continued to April 25,

                                   9   2018 at 9:15 a.m.

                                  10   IT IS SO ORDERED.

                                  11

                                  12   Dated: January 17, 2018
Northern District of California
 United States District Court




                                  13                                                  ______________________________________
                                                                                      LUCY H. KOH
                                  14                                                  United States District Judge
                                  15

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27
                                                                                       2
                                  28   Case No. 16-CR-00211-LHK
                                       ORDER DENYING DEFENDANT BELCHER’S THIRD MOTION TO EXTEND TIME AND GRANTING IN
                                       PART AND DENYING IN PART DEFENDANT GANESH’S MOTION TO CONTINUE DATES
